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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division

   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, TYLER MAGILL, APRIL
   MUNIZ, HANNAH PEARCE, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, and JOHN DOE,


                          Plaintiffs,
   v.


   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
   ALEX FIELDS, JR., VANGUARD        Civil Action No. 3:17-cv-00072-NKM
   AMERICA, ANDREW ANGLIN,
   MOONBASE HOLDINGS, LLC, ROBERT
   “AZZMADOR” RAY, NATHAN DAMIGO,
   ELLIOT KLINE a/k/a/ ELI MOSLEY,
   IDENTITY EVROPA, MATTHEW
   HEIMBACH, MATTHEW PARROTT a/k/a
   DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS,
   LEAGUE OF THE SOUTH, JEFF SCHOEP,
   NATIONAL SOCIALIST MOVEMENT,
   NATIONALIST FRONT, AUGUSTUS SOL
   INVICTUS, FRATERNAL ORDER OF THE
   ALT-KNIGHTS, MICHAEL “ENOCH”
   PEINOVICH, LOYAL WHITE KNIGHTS OF
   THE KU KLUX KLAN, and EAST COAST
   KNIGHTS OF THE KU KLUX KLAN a/k/a
   EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,


                          Defendants.


         PLAINTIFFS’ PETITION REGARDING RECOVERABLE ATTORNEYS’ FEES
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         Pursuant to Rule 37(b)(2)(C) of the Federal Rules of Civil Procedure and this Court’s

  instruction during oral argument on June 3, 2019, that Plaintiffs make a submission to the Court

  on attorneys’ fees, Plaintiffs hereby submit this Petition identifying the reasonable expenses,

  including attorneys’ fees, that Plaintiffs incurred in connection with the preparation, filing, and

  argument of Plaintiffs’ successful Motion for Sanctions Against Defendants Elliot Kline a/k/a Eli

  Mosley and Matthew Heimbach (ECF No. 457) and Plaintiffs’ successful Motion for Sanctions

  Against Defendant Vanguard America (ECF No. 465) (collectively, the “Sanctions Motions”).

                                 PROCEDURAL BACKGROUND

         Plaintiffs’ efforts to obtain discovery from Defendants Kline, Heimbach, and Vanguard

  America (collectively, “Defendants”) has been an 18-month saga, as recounted in Plaintiffs’ prior

  submissions to this Court. (See ECF Nos. 457, 463, 465, 475, and 489.) As part of that saga, on

  April 3, 2019, Plaintiffs filed their Sanctions Motion against Defendants Kline and Heimbach.

  (ECF No. 457.) About a week later, on April 11, 2019, Plaintiffs filed their Sanctions Motion

  against Defendant Vanguard America. (ECF No 465.) Plaintiffs filed a supplemental brief and

  two reply briefs in further support of the Sanctions Motions. (ECF Nos. 463, 475, and 489.) In

  total, Plaintiffs submitted to the Court 72 pages of legal briefing, along with 72 exhibits totaling

  650 pages of supporting documentation. (See ECF Nos. 457, 463, 465, 475, and 489.)

         Argument on the Sanctions Motions was heard before this Court in Charlottesville, VA, on

  June 3, 2019. At the conclusion of the hearing, the Court stated that the sanction of attorneys’ fees

  was “appropriate at this time” and invited Plaintiffs “to present something on your attorney’s fees”

  within one week. (June 3, 2019 Hr’g Tr. (“Hr’g Tr.”) at 31:18-32:1.) This submission now

  follows.




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                                          FEES REQUEST

          As set forth in the Declaration of Michael L. Bloch in support of this Petition, dated June

  10, 2019 (“Bloch Declaration” or “Bloch Decl.”), Plaintiffs devoted 247.3 hours of attorney and

  paralegal time to the Sanctions Motions, totaling $67,735.65 in fees and expenses, including

  researching and drafting the briefs in support of the Sanctions Motions, compiling dozens of

  exhibits demonstrating Defendants’ willful noncompliance with this Court’s prior orders, and

  preparing for and participating in the oral argument on the Sanctions Motions held before this

  Court at the federal courthouse in Charlottesville, VA.

          The attorney hours expended in connection with each Sanctions Motion and with the June

  3 hearing on the Motions are set forth in further detail in Exhibits A through C to the Bloch

  Declaration, which include the following total amounts for time and expenses:

   Exhibit                                 Item                                      Amount

      A       Motion for Sanctions Against Defendants                               $27,565.00
              Elliot Kline a/k/a Eli Mosley and Matthew Heimbach

      B       Motion for Sanctions Against Defendant Vanguard America               $16,372.50

      C       Oral Argument on the Sanctions Motions                                $23,798.15

                                                                     TOTAL          $67,735.65


          Plaintiffs request that the fees associated with the Motion for Sanctions Against Defendants

  Kline and Heimbach be apportioned equally between those two Defendants, and that the time

  devoted to preparing for and participating in the oral argument on the Sanctions Motions be

  allocated pro rata among the three Defendants, thereby resulting in the following allocation of fees

  and expenses among the three Defendants:




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          Defendant                  Motion Amount                  Oral Argument                  Total Sanction
                                                                       Amount

              Kline                      $13,782.50                     $7,932.72                     $21,715.21

           Heimbach                      $13,782.50                     $7,932.72                     $21,715.21

       Vanguard America                  $16,372.50                     $7,932.71                     $24,305.21

                                                      ARGUMENT

  I.       The Applicable Legal Standard

           In this Circuit, “the Court considers the reasonableness of the fees requested” by applying

  a three-step analysis. VT Milcom, Inc. v. PAT USA, Inc., No. 5:16-CV-00007, ECF No. 81 at 3

  (W.D. Va. Jan. 26, 2018) (Hoppe, M.J.) (citing McAfee v. Boczar, 738 F.3d 81, 88 (4th Cir. 2013)),

  report and recommendation adopted ECF No. 82 (W.D. Va. Feb. 16, 2018). First, the Court

  determines the lodestar figure by multiplying the number of reasonable hours by the applicable

  reasonable hourly rate. Id.; see also Broccoli v. Echostart Commc’ns Corp., 229 F.R.D. 506, 512

  (D. Md. 2005) (noting the lodestar method is appropriately applied to fee awards under Rule 37).

  The reasonableness of both the number of hours and the hourly rates requested is evaluated using

  the 12 factors set forth in Johnson v. Georgia Highway Express, Inc., 488 F.2d 714, 717-19 (5th

  Cir. 1974) (the “Johnson factors”). 1 McAfee, 738 F.3d at 88 n.5. The twelve Johnson factors are:

  “(1) the time and labor expended; (2) the novelty and difficulty of the questions raised; (3) the skill

  required to properly perform the legal services rendered; (4) the attorney’s opportunity costs in

  pressing the instant litigation; (5) the customary fee for like work; (6) the attorney’s expectations

  at the outset of the litigation; (7) the time limitations imposed by the client or circumstances; (8)


  1
       As the Bloch Declaration explains, Plaintiffs are also requesting Mr. Bloch’s reasonable travel expenses to
       attend oral argument on the Sanctions Motions. See, e.g., EEOC v. Bardon, Inc., No. CIV.A RWT-08-1883,
       2010 WL 989051, at *3 (D. Md. Mar. 12, 2010) (explaining that under the Federal Rules “‘[a]ttorneys’ fees’
       pertains to fees paid to attorneys for their time and services. ‘Expenses’ are the additional costs such as filing,
       copying, travel, etc.”).


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  the amount in controversy and the results obtained; (9) the experience, reputation, and ability of

  the attorney; (10) the undesirability of the case within the legal community in which the suit arose;

  (11) the nature and length of the professional relationship between attorney and client; and (12)

  attorneys’ fees awards in similar cases.” Id.

         Second, the court must “subtract fees for hours spent on unsuccessful claims unrelated to

  successful ones.” Id. at 88 (quoting Robinson v. Equifax Info. Servs., LLC, 560 F.3d 235, 244 (4th

  Cir. 2009)). Finally, the court “awards a percentage of the remaining amount to the prevailing

  party, depending on the degree of success of the prevailing party’s claims.” VT Milcom, Inc., No.

  5:16-CV-00007, ECF No. 81 at 4.

  II.    Plaintiffs’ Requested Fees Are Reasonable

         As set forth in more detail below, Plaintiffs have taken a deliberately conservative approach

  in their fee request that easily satisfies all relevant Johnson factors and provides no basis for

  reduction. Represented by experienced and able counsel, Plaintiffs pursued undisputedly justified

  Sanctions Motions against three Defendants who have each entirely ignored this Court’s prior

  orders and shown complete disregard for the judicial process. (See, e.g., Hr’g Tr. at 13:16-17 (The

  Court: “[T]hese defendants, really, they haven’t been cooperating, haven’t been providing

  discovery as required.”); id. at 20:10-11 (The Court: “I think you’re right that the conduct is clearly

  sanctionable up to this point.”).) The rates being requested are reasonable; indeed, they are

  Charlottesville market rates previously approved by this Court. The number of hours being

  requested is also reasonable, containing only the hours (and expenses) of certain attorneys and one

  paralegal directed specifically at researching, drafting, preparing, filing, and arguing the Sanctions

  Motions. Accordingly, the Court should award Plaintiffs the lodestar amount as to each Defendant

  as set forth above.




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         A.      The Hourly Rates Being Applied Are Reasonable

         In determining the reasonableness of the hourly rates being applied, this Court is instructed

  to consider and weigh, to the extent pertinent, the Johnson factors. See supra at 3-4. Because this

  application for fees arises in the context of the resolution of a discovery dispute, rather than at the

  conclusion of the litigation on the merits, Plaintiffs submit that “the customary fee for like work”

  and “the experience, reputation and ability of the attorneys” are the Johnson factors appropriately

  considered in assessing the reasonableness of Plaintiffs’ claimed hourly rates here. See, e.g., Scott

  v. Clarke, No. 3:12-CV-00036, 2014 WL 1463755, at *4 (W.D. Va. Apr. 15, 2014) (Moon, J.)

  (awarding fees based on submission that specifically addressed three of twelve Johnson factors);

  Lismont v. Alexander Binzel Corp., 47 F. Supp. 3d 443, 450 (E.D. Va. 2014) (finding numerous

  Johnson factors inapposite “[b]ecause this matter involve[d] a discovery motion rather than the

  complete disposition of a case after trial”)); SunTrust Bank v. Nik, No. 1:11-CV-343, 2012 WL

  1344390, at *3 (E.D. Va. Mar. 22, 2012), report and recommendation adopted, No. 1:11-CV-343,

  2012 WL 1344376 (E.D. Va. Apr. 17, 2012) (same).

                 1.      Plaintiffs Are Applying the Customary Fee for Like Work in This
                         Jurisdiction

         In seeking an award of attorneys’ fees, Plaintiffs bear the burden of “produc[ing] specific

  evidence of the ‘prevailing market rates in the relevant community’ for the type of work”

  performed. Depaoli v. Vacation Sales Assocs., L.L.C., 489 F.3d 615, 622 (4th Cir. 2007) (quoting

  Spell v. McDaniel, 824 F.2d 1380, 1402 (4th Cir. 1987)). “Typically, this means an attorney will

  demonstrate the market rate for services in the geographic jurisdiction of the litigation.” Newport

  News Shipbuilding & Dry Dock Co. v. Holiday, 591 F.3d 219, 227 (4th Cir. 2009) (citation

  omitted); accord Rum Creek Coal Sales, Inc v. Caperton, 31 F.3d 169, 175 (4th Cir. 1994) (“The

  relevant market for determining the prevailing rate is ordinarily the community in which the court



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  where the action is prosecuted sits.” (citation omitted)). Although there are strong arguments here

  for applying prevailing New York market rates—all of the lawyers who devoted time to the

  Sanctions Motions work at Kaplan Hecker & Fink LLP (“KHF”) in New York, see Quesenberry

  v. Volvo Grp. N. Am., Inc., No. 1:09-CV-00022, 2010 WL 2836201, at *9 (W.D. Va. July 20,

  2010), report and recommendation adopted, No. 1:09-CV-00022, 2010 WL 3521996 (W.D. Va.

  Sept. 3, 2010) (awarding fees based on where attorneys practiced rather than where the case was

  heard)—Plaintiffs nevertheless request that for the purpose of this application, the following

  prevailing Charlottesville market rates (which are substantially lower than the prevailing New

  York market rates normally received by Plaintiffs’ counsel) be used for determining the lodestar

  for this application:

      •   Michael L. Bloch (Counsel)           $400;

      •   Alexandra Conlon (Associate)         $225;

      •   Martha Fitzgerald (Associate)        $225; and

      •   Emma Buckland Young (Paralegal) $100.

  This is in accordance with rates that courts in this jurisdiction have deemed appropriate in recent

  cases. See, e.g., Scott, 2014 WL 1463755, at *6 (Moon, J.) (awarding $400 per hour for

  experienced attorneys and $225 per hour for less experienced attorneys); VT Milcom, Inc., No.

  5:16-CV-00007, ECF No. 81 at 5 (awarding $365 per hour for experienced attorneys and $275 per

  hour for less experienced attorneys, as requested in Pl.’s Br. Ex. A, ECF No. 75-1); Kindred v.

  McLeod, No. 3:08-CV-00019, 2010 WL 4814360, at *12 n.14 (W.D. Va. Nov. 19, 2010) (Moon,

  J.) (awarding $375 per hour for experienced attorneys and $225 per hour for less experienced

  attorneys); Project Vote/Voting for Am., Inc. v. Long, 887 F. Supp. 2d 704, 713 (E.D. Va. 2012)

  (awarding a range of $225 to $400 per hour for attorneys); Randle v. H&P Capital, Inc., No. 3:09-



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  CV-608, 2010 WL 2944907, at *8 (E.D. Va. July 21, 2010) (awarding $450 and $425 per hour to

  experienced attorneys). In applying these rates, Plaintiffs have endeavored to ensure that their

  request falls well within the parameters of reasonable fees in this Court and this Circuit,

  notwithstanding the higher hourly rates that Plaintiffs’ counsel would normally receive for the type

  of work undertaken here. 2

                    2.       Plaintiffs’ Attorneys Are Able and Experienced

          Together with co-counsel, Plaintiffs are represented by KHF, a New York litigation

  boutique whose attorneys have extensive experience litigating civil rights issues. Since its

  formation in 2017, KHF has represented clients in constitutional challenges to Mississippi’s anti-

  LGBT religious freedom law, Barber v. Bryant, 138 S. Ct. 652, 199 L. Ed. 2d 531 (2018), and the

  City of Starkville, Mississippi’s refusal to provide a permit for a gay pride parade, Starkville Pride

  v. City of Starkville, No. 1:18-CV-00032 (N.D. Miss., filed Feb. 26, 2018), as well as in

  Masterpiece Cakeshop, Ltd. v. Colorado Civil Rights Commission, 138 S. Ct. 1719 (2018), Trump

  v. International Refugee Assistance Project, 137 S. Ct. 2080 (2017), and Trump v. Hawaii, 138 S.

  Ct. 2392 (2018).

          As set forth in the Bloch Declaration, the KHF attorneys who worked on the Sanctions

  Motions have significant prior experience in complex and civil rights litigation:

      •   Michael L. Bloch, Counsel at KHF who devoted 111.9 hours to the Sanctions Motions, is
          an experienced criminal and civil litigator, having tried more than a dozen cases to verdict
          during his 10-year legal career. Prior to joining KHF in December 2018, Mr. Bloch spent
          over seven years as a public defender at the Bronx Defenders and three years as a litigation
          associate at Williams & Connolly LLP. He also clerked for the Honorable Chief Judge
          Helen Ginger Berrigan on the U.S. District Court for the Eastern District of Louisiana and
          subsequently for the Honorable Diane P. Wood on the U.S. Court of Appeals for the
          Seventh Circuit. (See Bloch Decl. ¶ 4.)



  2
      Plaintiffs reserve the right to request the actual rates of their counsel and paralegals in future fee applications in
      this case.


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       •   Alexandra K. Conlon, an associate at KHF who devoted 41.5 hours to the Sanctions
           Motions, has extensive trial experience through her five years in practice. Prior to joining
           KHF in August 2018, she served as a public defender at the Bronx Defenders, where she
           tried over fifteen felony and misdemeanor cases to verdict. (See Bloch Decl. ¶ 5.)

       •   Martha E. Fitzgerald, an associate at KHF who devoted 24.5 hours to the Sanctions
           Motions, has litigated complex civil matters in federal court for four years. Prior to joining
           KHF in October 2018, she clerked for the Honorable Thomas L. Ambro in the United States
           Court of Appeals for the Third Circuit and spent two years litigating conspiracy matters in
           federal civil cases at Cravath, Swaine & Moore LLP. (See Bloch Decl. ¶ 6.)

           B.      Plaintiffs Devoted a Reasonable Number of Hours to the Sanctions Motions

           In determining the reasonableness of the hours expended, this Court should once again

   consider and weigh the relevant Johnson factors. See supra at 3-4. Those factors are “the time

   and labor expended” and “the novelty and difficulty of the questions raised.” See, e.g., Alexander

   S. By and Through Bowers v. Boyd, 929 F. Supp. 925, 939 (D.S.C. 1995) (per curiam) (applying

   the first and second Johnson factors), aff’d sub nom. Burnside v. Boyd, 89 F.3d 827 (4th Cir. 1996);

   AD ex rel. SD v. Bd. of Pub. Educ. of City of Asheville, 99 F. Supp. 2d 683, 690 (W.D.N.C. 1999)

   (same). Applying those factors to the analysis, Plaintiffs’ hours are reasonable and should be

   credited in total.

                   1.     The Time and Labor Expended Was Warranted

           “A fee applicant has the burden of proving hours to the district court by submitting

   contemporaneous time records that reveal all hours for which compensation is requested and how

   those hours were allotted to specific tasks.” CoStar Group, Inc. v. LoopNet, Inc., 106 F. Supp. 2d

   780, 788 (D. Md. 2000) (citing authorities); accord Beyond Sys., Inc. v. World Ave. USA, LLC,

   No. CIV.A. PJM-08-921, 2011 WL 2038545, at *4-5 (D. Md. May 24, 2011) (similar). Excerpts

   from KHF’s electronic invoicing system, reflecting the record of the work performed in connection

   with the researching, briefing, and argument of the Sanctions Motions, are being submitted as

   Exhibits A through C to the Bloch Declaration.



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           As set forth in those Exhibits, Plaintiffs’ counsel devoted 247.3 hours of attorney and

   paralegal time to the Sanctions Motions, including researching, drafting, and compiling the briefs

   and associated exhibits in support of the Motions, as well as preparing for and participating in the

   oral argument on the Motions in Charlottesville. Plaintiffs are excluding from their request, in a

   further effort to be reasonable and in the exercise of the sound professional billing judgment that

   courts expect to be applied by the award-seeking attorney in this context, 3 among other things, the

   attorney and paralegal hours and expenses devoted to the following work relating to the Sanctions

   Motions:

       •   Plaintiffs’ repeated attempts to obtain any discovery from Defendants in the nearly 18
           months since serving Plaintiffs’ discovery requests (see generally ECF Nos. 354, 457, and
           465);

       •   Plaintiffs’ successful Motion to Compel Defendants to Permit Inspection and Imaging of
           Electronic Devices (ECF No. 354);

       •   Plaintiffs’ repeated attempts to induce Defendants’ compliance with this Court’s Order
           granting that Motion to Compel (ECF No. 379);

       •   All time and expenses of Plaintiffs’ counsel and paralegals other than Mr. Bloch, Ms.
           Conlon, Ms. Fitzgerald, and Ms. Buckland Young; 4 and

       •   All time and expenses of Plaintiffs’ counsel expended on this Petition. 5

   (See Bloch Decl. ¶ 15.) Plaintiffs submit that the time included for researching, briefing, preparing,

   filing, and arguing the Sanctions Motions directed at three different Defendants relating to


   3
       See generally Hensley v. Eckerhart, 461 U.S. 424, 434 (1983) (“Counsel for the prevailing party should make a
       good faith effort to exclude from a fee request hours that are excessive, redundant or otherwise unnecessary, just
       as a lawyer in private practice ethically is obligated to exclude such hours from his fee submission. ‘In the private
       sector, “billing judgment” is an important component in fee setting. It is no less important here. Hours that are
       not properly billed to one’s client also are not properly billed to one’s adversary . . . .’” (quoting Copeland v.
       Marshall, 641 F.2d 880, 891 (1980) (en banc)); see also Rum Creek Coal Sales, 31 F.3d at 174-75 (noting fees
       claimed must reflect the application of “billing judgment”).
   4
       By way of example only, although Gabrielle E. Tenzer and Erin Ashwell appeared on behalf of the Plaintiffs at
       the June 3, 2019 oral argument on the Sanctions Motions, the time that they expended preparing for and
       attending the oral argument is not included in this Petition.
   5
       See, e.g., Paice, LLC v. Hyundai Motor Co., No. CIV. WDQ-12-0499, 2014 WL 3819204, at *27 (D. Md. June
       27, 2014) (noting the added liability to the sanctioned party of fees for preparing the fee petition itself).


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   discovery misconduct spanning nearly 18 months is reasonable. The novelty and difficulty of the

   issues presented, see Section II.B.2 infra, and the Defendants’ refusal to engage in meet and

   confers that could have narrowed the issues in dispute, fully support the time devoted to the

   Sanctions Motions. In the ordinary course, parties are usually able to narrow the issues that warrant

   the Court’s intervention, at least to some degree. Here, Defendants entirely ignored Plaintiffs’

   efforts, thereby forcing Plaintiffs to place before the Court the multiple bases for sanctions—and

   multiple forms of relief—to which they were entitled. (See ECF No. 457, 465.)

                  2.      The Questions Raised Were Novel and Difficult

          The novelty and difficulty of the questions raised in the Sanctions Motions arise from the

   unique disregard displayed by the Defendants for this Court and the judicial process as a whole.

   (See Hr’g Tr. at 22:23-23:24 (defense counsel explaining how these Defendants “don’t care” and

   describing the Defendants’ “disrespect for the judicial process”).) To put the matter simply, there

   is little precedent for the kind of conduct the Defendants have engaged in here and, accordingly,

   there was little “off the shelf” research and analysis that could be brought to bear. This is reflected

   in the sanction that the Court referred to during the June 3 hearing: issuing a bench warrant for

   each Defendant and holding them “until they comply with their obligations that every party has to

   comply with in every single case.” (Id. at 15:2-4; see also id. at 10:1-11.)

          Moreover, the nature of Plaintiffs’ claims complicated the question of appropriate

   sanctions for Defendants’ unwillingness to participate in discovery. Unlike the ordinary case, in

   which default may be a straightforward penalty for failure to participate in discovery, here the

   Defendants possess critical evidence pertaining not only to their own liability, but to the liability

   of their co-conspirators and to the scope of the alleged conspiracy as a whole. (See generally ECF

   No. 457 at 2-6; ECF No. 465 at 3-5, 8-9.) Under the circumstances present here, the question of

   the appropriate and necessary remedies that would sufficiently compensate Plaintiffs for this


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   deprivation of conspiracy evidence is a complex one, and significant legal research was required

   to understand and pursue the appropriate sanctions to fill the evidentiary gap caused by

   Defendants’ utter lack of participation in the discovery process. (See Hr’g Tr. at 9:10 (The Court:

   “[W]hat’s the appropriate sanction is the issue.”).) This included the work needed to draft carefully

   worded adverse inferences and facts deemed admitted to propose to the Court for its consideration,

   as well as to identify key social media accounts for authentication, which, when combined, could

   potentially remedy the nature and severity of the Defendants’ discovery misconduct in this case. 6

           C.       The Lodestar Amount Is Reasonable and There Is No Basis for Adjustment

           Where, as here, Plaintiffs succeeded on their Sanctions Motions (see Hr’g Tr.), there is no

   basis to reduce the lodestar amount of $73,575.65 to account “for hours spent on unsuccessful

   claims unrelated to successful ones.” McAfee, 738 F.3d at 88 (quoting Robinson, 560 F.3d at 244).

   Indeed, the Court unambiguously decided that the “first three [factors supporting sanctions] are

   abundantly laid out” in Plaintiffs’ filings and that the only question is “what[] the appropriate

   sanction” is for Defendants’ misconduct. (Hr’g Tr. at 9:7-10.) The Court further observed that

   the misconduct complained of in the Sanctions Motions is “clearly sanctionable.” (Id. at 20:10-

   11.) Although the Court has not yet imposed the exact sanctions requested by Plaintiffs in their

   Motions, it nevertheless discussed awarding severe sanctions against the three Defendants and

   noted that the sanctions requested by Plaintiffs “certainly could be appropriate at some point.”

   (See id. at 30:5-10; see also id. at 18:16-18 (The Court: “I think that there’s something else that

   we can do to see if you all can get the information that you’re really entitled to.”); id. at 21:3-8

   (The Court: “[A] lot of those remedies, I’m not finding that they aren’t appropriate but just that


   6
       In view of the novel and difficult questions raised by Defendants’ conduct, the third Johnson factor—“the skill
       required to properly perform the legal services rendered”—should also be considered. When considering this
       factor, “the trial judge should closely observe the attorney’s work product, his preparation, and general ability
       before the court.” Johnson, 488 F.2d at 718.


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   perhaps at this time there’s something else that can be done in the interim.”).) Accordingly, there

   is no basis to award only “a percentage of the remaining amount to the prevailing party.” VT

   Milcom, Inc., No. 5:16-CV-00007, ECF No. 81 at 4. Rather, the full lodestar amount of $67,735.65

   is the appropriate award.

                                           CONCLUSION

          For the foregoing reasons, Plaintiffs respectfully request that the Court award Plaintiffs’

   reasonable attorneys’ fees and expenses in the amount of $67,735.65, to be divided among

   Defendants Kline, Heimbach, and Vanguard America as set forth above, and order such other relief

   as the Court deems necessary and appropriate.


   Dated: June 10, 2019                         Respectfully submitted,

                                                        /s/
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                                                Of Counsel:

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on June 10, 2019, I filed the foregoing with the Clerk of Court
   through the CM/ECF system, which will send a notice of electronic filing to:

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           I further hereby certify that on June 10, 2019, I also served the following non-ECF
   participants, via U.S. mail, First Class and postage prepaid, addressed as follows:

    Loyal White Knights of the Ku Klux Klan        East Coast Knights of the Ku Klux Klan
    a/k/a : Loyal White Knights Church of          a/k/a East Coast Knights of the
    the Invisible Empire, Inc.                     True Invisible Empire
    c/o Chris and Amanda Barker 2634 U.S.          26 South Pine St.
    HWY 158 E                                      Red Lion, PA 17356
    Yanceyville, NC 27379

    Andrew Anglin                                  Moonbase Holdings, LLC
    P.O. Box 208                                   c/o Andrew Anglin
    Worthington, OH 43085                          P.O. Box 208
                                                   Worthington, OH 43085

    Augustus Sol Invictus                          Fraternal Order of the Alt-Knights
    9823 4th Avenue                                c/o Kyle Chapman
    Orlando, FL 32824                              52 Lycett Circle
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           I further hereby certify that on June 10, 2019, I also served the following non-ECF
   participants, via electronic mail, as follows:

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                                                        /s/
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